                                              IT IS HEREBY ADJUDGED
                                              and DECREED this is SO
                                              ORDERED.
                                              The party obtaining this order is responsible for
                                              noticing it pursuant to Local Rule 9022-1.
 1   TERRY A. DAKE, LTD.
     11811 North Tatum Boulevard              Dated: January 03, 2011
 2   Suite 3031
     Phoenix, Arizona 85028-1621
 3   Telephone: (480) 368-5199
     Facsimile: (480) 368-5198                           ________________________________________
 4   tdake@cox.net                                                 RANDOLPH J. HAINES
                                                                   U.S. Bankruptcy Judge
 5   Terry A. Dake - 009656                   ________________________________________
 6   Attorney for Trustee

 7                       IN THE UNITED STATES BANKRUPTCY COURT

 8                              FOR THE DISTRICT OF ARIZONA

 9   In re:                               )        In Chapter 7 Proceedings
                                          )
10   GREGG SETH REICHMAN;                 )        Case No. 0:10-BK-24374-RJH
                                          )
11                             Debtor.    )
                                          )
12
                              ORDER APPROVING ABANDONMENT
13
                   This matter having come before the Court on the trustee's
14
     Notice Of Abandonment; and
15
                   The trustee having sought abandonment of the following:
16
                   All right, title and interest of the bankruptcy
17                 estate in GSG Properties, LLC and Active Finance
                   Group, LLC.
18
                   Hereinafter referred to as the “Property”; and
19
                   It appearing that notice of the proposed abandonment was duly
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     given    to   creditors    and   parties      in      interest              as       appears   from   the
21
     certificate of mailing filed with the Court; and
22
                   There having been no objections to the trustee's notice timely
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     filed and served except for the objection at Admin. Dkt. No. 37 as to
24
     which the objector, G. Jan Beekhuis, has consented to the entry of this
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     order as shown by his signature below; and
26
                   The Court having reviewed the proposed abandonment and finding
27
     that the requested relief is a reasonable exercise of the trustee's
28

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 1   business judgment and is otherwise reasonable and in the best interest

 2   of the estate; and

 3               The Court being otherwise duly advised;

 4               IT IS ORDERED that the Property is abandoned.

 5                    DATED AND SIGNED ABOVE.

 6
     APPROVED AND AGREED:
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 8
        See attached.
 9   G. Jan Beekhuis

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